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IN THE UNITED STATES ES. DISTRICT COURT
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DISTRICT COURT FOR THE

20 MAR -3 A Tt: YO
DISTRICT OF NEW JERSEY

 

UNITED STATES of AMERICA

V. CRIM.NO: 88-239

LOUIS A. MANNA

 

PETITION FOR ORDER
MANDATING, U.S.
ATTORNEY'S OFFICE

TO FURNISH/RETURN
FILES, VIDEO'S, SUBMITTED
ON AUGUST 16, 2005,

TO ASSIST COURT/PROSECUTION

 

To: The Honorable Judge of Said Court;

I. INTRODUCTION

 

And Now, To Wit on about this 22, day of February
2011, Petitioner respectfully request that this Honorable
Court issue an order to the U.S. Attorney's Office, to return

and furnish,
 

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- Petitioner with the above files and video's that
Petitioner submitted on August 16, 2005, to assist the Court
as well as the prosecution.

Petitioner has written the U.S. Attorney, Paul J.
Fishman, [n]umerous times requesting the above documents,
(See: Letter's from Petitioner, August 26, 2010 and November
17, 2010, Exht.#1).

But Petitioner's request has fell upon deaf ear's.
Petitioner has [n]o other recourse but to turn to this
Honorable Court to rectify this very, very important matter,
Petitioner also request an alternative as requested in his
November 11, 2010 letter, that if by chance this material is
un-available, then order the U.S. Attorney's Office, to
respond indicating what happen to these documents.

Petitioner also states that these above documents are
important to him because he is still fighting his conviction
and sentence.

Wherefore, the Petitioner pray's that this Honorable
Court will issue under the Hand and Seal of this Court, an
Order upon the U.S. Attorney Paul J. Fishman, return to
Petitioner the August 16, 2005 file and vidio's, or in the
alternative, forthwith Petitioner a response indicating the
where abouts of Petitioner's documents of August 16, 2005.
DATE: RESPECTFULLY SUBMITTED,

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LOUIS A. MANNA #09211-050
FCI FAIRTON, PO BOX 420

FAIRTON, Nd. 08320
 

@ 2:88-cr-00239-PGS Document1 Filed 03/10/11 Page 3 of 8 PagelD: 3

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Louis A Manna
09211-050

FCT Fairton
P.O. Box 420

Fairton, NJ 08320

Paul J Fishman

U.S Attorneys Office:
970 Broad Street
Room 702

Newark, NJ 07102

The purpose of this inquiry to your office for
information regarding files and videos submitted in my 60 (»)
motion on August 16th 2005, as documented in the civil docket,

No 2;97-02034. MTB.

On January 14th 2008 the Supreme Court denied me relief,

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listed as, No 07-758 which finalized my litigation at that

nt. T had assumed that the files and videos that were

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submitted to assist the court and the prosecution would have

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been returned as a matter of form, and under no circumstances

carded without notifying all parties to the

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could have been
litigations. If that happened I have not received any document
ation by the court or by your predecessors.

tT would appreciate i£ you would look into this matter, due to

the value of these files and videos which are needed for
future litigation before the court,

office which you now head.

Please address all correspondence to Louis A Manna, as

sé Litigant Petitioner.

Sincerely

Louis A Manna

Please find enclosed are copies

1. Civil Court Docket No, 2;97-02034

2. August 16 2005. Files and Video submitted
3. January 14 2008. Denial by Supreme Court ¥

(b) motion

 

 

 

 

 

 

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SS TTOLNEON |
LAURIE NIC OLESORNSON
Commission # 2373877 ce i
Notary Public, Siate of New Jersey
d My Commission Expires
i May 19, 2013 conch

 

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the 60
 

 

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Louis A. Manna #09211-050
F.C.1. Fairton
P.O. Box 420
Faircton W.J. 08320
November 17, 2010

“paul J. Fisherman
U.S. Attorney

970 Broad Street, Room/02

Newark N.J. 07102

Re:Return of files and tapes submitted in Civ. No.2;97~
02034.(MTB).

Deat Sir:

On August 26, 2010 I sent a letter to you in reference to the
whereabouts, and return, of the tapes and files submitted by my
attorney, Paul Potenza, in conjunction with the 60(b)(6) motion
filed on my behalf. To date you have failed to cespond to this

previous request which is the impetus of this follow-up letter.

Enclosed you will find a duplicate of the 2-page docketed filing
of August 16, 2005.

Tf you have searched on my behalf and have found no records or
tapes in your office, or, have decided that you have no
obligation to search for and veturn this material If would
appreciate the common curtesy of a cesponss. If the return of
“hese materials from your office is not forthcoming then a
vesponse indicating such will give me leave to pursue these

important materials in other arenas and through other venues.

 

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Ve i, } , \ AZ iis) 208
Sincerely, NEL wee ae sel" POUL
I LAURIE NIGOLE JOHNSON
Commission # 2373877

 

 

Notary Public, State of New Jersey
My Commission Expires
May 19, 2015

 

 

  

Louis A. Manna
 

 

 

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August 16, 2005

ited States District Court for the

New Jersey
| Building

Clerk, Un
District of

MLL. King, Jr. Federa

50 Walnut Street
Newark, New Jersey 07102

& US. Cou shouse

America V. Louis Anthony Manna

Re: United States of

Dear Sir/Madam:

ose for filing with the Court my”
Relief from J udgment Pur
d 5 copies;

{ encl
suant to Federal Rules of civil

1. Motion for

e 60(b)(6) — original an
x and Exhibit Package

Procedure Rul
deral Rules of Civil

Voluminous Appendi

2. Request for Leave to File a
dgment Pursuant to Fe

4th Motion for Relief from Ju

in Connection ™
60(b)(6) — original and 5 copies:;

Procedure Rule
e United States Attorney Office of Newark,

3, Motion to Disqualify th

New Jersey 7 original and 5 copies;
4. Appendix in Support of Motion for Relief from Judgment Pursuant to
Federal Rules of Civil Procedure Rule 60(b)(6) - 4 copies; and,
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5. 2 true copies each of
(a) Video. tape prepared by my defense counsel on 11/1 6/99

(marked Exhibit 1A, consisting of tapes “1 of 2” and “2 of 2”); and
(b) Video tape of Government surveillance of Casella’s Restaurant
made on 8/5/87 (marked Exhibit 1B, consisting of tapes “1 of 3”, “2 of 3”, and “3 of 3”).

New Jersey Attorney Paul L. Potenza, Esq., who is hand-delivering these
materials on my behalf, will make payment of any filing fees, etc.

Thank you.

Respectfully,
Louis Anthony Manna

#0921 1-050

F.C.1. -- Fairton

P.O. Box 420

Fairton, New Jersey 08320
Appearing Pro Se

Ce: United States Attorney’s Office,
District of New Jersey
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HNO} JLNISIG *S°A.
1S inujem 0S

qNOD JO 14315

 

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